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                 EXHIBIT B-103
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                                                                               FILED IN OFFICE

                   IN THE SUPERIOR COURT OF FULTON COUNTY
                              STATEOF GEORGIA


IN RE 2 MAY2022 SPECIALPURPOSE
GRANDJURY                                              2022-EX-000024




                              ORDER SEALING MOTION

       The attached motion is being filed under seal. Concomitantly with this sealed

filing, the Court is filing an unsealed redacted version of the motion. The Court, having

reviewed the attached motion and assessed the proposed (and accepted) redactions, finds

that the District Attorney's compelling interest in protecting the ongoing investigation

into possible criminal electoral interference is sufficient to justify sealing the,unredacted

motion. See United States v. Valenti, 987 F.2d 70,714 (n th Cir. 1993); In re Four Search

Warrants, 945 F. Supp. 1563 (N.D. Ga. 1996). The Court additionally finds that the

redacted portions of the motion -- containing sensitive, non-public investigative

information -- "are not subject to disclosure under [Uniform Superior Court Rule] 21

because they do not fall within that which USCR 21 embodies: they are not court records

to which the public and press in Georgia have traditionally enjoyed access." In re

Gwinnett Cnty. Grand Jury, 284 Ga. 510, 512 (2008).

       SO ORDERED this 3 rd day of October 20




                                                  Judge Robert C.I. 1v1cSttJ~ney
                                                  Superior Court of Fulton County
                                                  Atlanta Judicial Circuit
